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                             IN THE UNITED STATES BANUPTCY COURT

                                  FOR THE DISTRICT OF DELAWAR

In re:                                          )        Chapter 11
                                                )
W. R. GRACE & CO., et aI.,                      )        Case No. 01-1139 (JK)
                                                )        Jointly Administered
                             Debtors.           )


                                        CERTIFICATE OF SERVICE


                  I, Timothy P. Cairns, hereby certify that on the 18th day of June, 2009, I caused a

copy of the following document to be served on the individuals on the attached service list in the

maner indicated:

            NO ORDER REQUIRED CERTIFICATION OF NO OBJECTION
            REGARING NINETY-SIXTH MONTHLY APPLICATION OF PACHULSKI
            STANG ZIEHL & JONES LLP FOR COMPENSATION FOR SERVICES
            RENDERED AND REIMBURSEMENT OF EXPENSES, AS CO-COUNSEL TO
            THE DEBTORS FOR THE PERIOD FROM MARCH 1,2009 THROUGH
            MARCH 31, 2009 (DOCKET NO. 21898).




                                                         ~~ L '-
                                                Timothy P. Cairns (Bar No. 4228)




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